                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION

JAUSTON HUERTA, ET AL
     Plaintiffs,

              vs.                                      CAUSE NO. 2:16-CV-397-JMS- MJD

JOHN PLASSE, ET AL
     Defendants.

                       DEFENDANTS MONTHLY STATUS REPORT

       The Defendants, John Plasse, Individually and in his official capacity as Sheriff of Vigo

County, the Vigo County Commissioners, Brad Anderson, Judy Anderson and Brendan Kearns,

in their official capacity, the Vigo County Council, Aaron Loudermilk, Jim Mann, Mike Morris,

Lisa Spence-Bunnett, Chris Switzer, David Thompson and Vicki Weger in their official capacity,

by counsel, file their periodic status report concerning construction of a new jail, staffing,

recreation, wellness checks and inmate altercations:

                         CONSTRUCTION OF NEW VIGO COUNTY JAIL

       Bids for construction of the new Vigo County Jail (“Jail”) were awarded on October 19,

2019. The Vigo County Commissioners reviewed and approved bids on October 22, 2019.

Construction of the new Jail is to begin in December. The Jail construction timeline is:

       DESCRIPTION                                            TIMEFRAME

       Start of Construction                                  12/02/19

       Site Access and Erosion Control                        12/02/19 to 1/02/20

       Site work & Underground Utilities                      12/27/19 to 7/30/20

       Building Construction (Area C)                         3/31/20 to 5/06/21

       Building Construction (Area A)                         5/12/20 to 11/9/20
Building Construction (Area B)                       5/12/20 to 6/17/21

Building Construction (Area E)                       6/04/20 to 9/09/21

Site Finishes & Punch List                           3/10/21 to 9/9/21

Final Cleaning & Training                            10/21/22 to 12/2/21

Complete Construction                                12/02/21



                                           STAFFING

       The Vigo County Sheriff’s Department (“Sheriff’s Department”) employed 57 full-time

and 5 part-time correctional officers on October 30, 2019. The number of full-time correctional

officers will increase to 62 by November 15, 2019. The Jail will also employ 9 part-time

correctional officers within the next two weeks.

       The Sheriff’s Department has received 66 applications for full-time and 6 applications for

part-time correctional officer positions in October. Interviews with correctional officer

candidates are scheduled the week of November 11th. The Sheriff’s Department will continue to

advertise and interview candidates for full and part-time correctional positions until compliance

with the Court’s staffing order is achieved.

                                         RECREATION

       The Vigo County Jail recreation log for October is attached. [Dkt. 249-1] Recreation was

offered 3-9 times a week from September 29, 2019 through October 26, 2019. Blocks were

offered the minimum recreation of 3 times a week only twice in the last month. Recreation was

offered to cellblocks 6 to 9 times a week 28 times in the past 30 days.
                                       WELLNESS CHECKS

Wellness checks are conducted by correctional officers in each cellblock hourly. Correctional

officers monitor inmates on suicide watch every 15 minutes.

                                     INMATE BREAKDOWN

       The Jail’s September 30, 2019 inmate population was inaccurate. The population was

reported as 359 inmates when the actual number incarcerated was 326. Vigo County had 33

inmates housed in other counties at the end of last month and were incorrectly included in the

Jail population.

       The Jail had 289 inmates on October 30, 2019. Vigo County has 33 inmates incarcerated

in other Indiana jails. The total number of inmates incarcerated in the Jail and at other county

jails was 322. Classification of inmates in the Jail and those housed outside of Vigo County are

as follows:

               Classification                                   Number

               Pre-trial detainees                              295

               Sentenced to Vigo County Jail                    4

               Sentenced to Jail by TH City Court               1

               Hold only (Indiana)                              1

               Sentenced to Vigo Co. Comm. Corrections          1

               Sentenced to the Department of Correction        11

               Parole hold (Indiana)                             6

               Returned to Vigo County Jail for
               sentence modification                             3

                                TOTAL                            322
                                        INMATE INCIDENTS

       There were 4 inmate altercations in October. A summary of the inmate altercations was

emailed to class counsel on October 31, 2019.

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                                CERTIFICATE OF SERVICE

       The undersigned, attorney for Defendants, certifies that a copy of the foregoing document
was served electronically to the following:

       Mr. Michael Sutherlin
       Mr. Craig M. McKee
       Mr. Michael J. Wright
       Mr. Kenneth Falk

dated this 31st day of October, 2019.


                                             /s/ David P. Friedrich
                                                 David P. Friedrich
                                               Attorney No. 15164-84
